    Case 22-18303-JKS           Doc 142-6 Filed 08/25/23 Entered 08/25/23 12:51:44                      Desc Ntc
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                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 22−18303−JKS
                                         Chapter: 11
                                         Judge: John K. Sherwood

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Alexandre J. Dacosta                                     Vivianne C. Antunes
   80 Columbia Avenue                                       80 Columbia Avenue
   Kearny, NJ 07032                                         Kearny, NJ 07032
Social Security No.:
   xxx−xx−2325                                              xxx−xx−0411
Employer's Tax I.D. No.:


                                        NOTICE OF HEARING
                              ON APPLICATION/MOTION TO CONVERT CASE

      An application/motion to convert the above−captioned case from Chapter 11 to Chapter 7, has been filed by
United States Trustee by Peter J. D'Auria.

      Notice is hereby given that the Court will conduct a hearing on this matter to determine the application/motion
for conversion Or in the alternative dismiss the case before the Honorable John K. Sherwood on:

Date:                 September 26, 2023
Time:                  10:00 AM
Location:         Courtroom 3D, Martin Luther King, Jr. Federal Building, 50 Walnut Street, Courtroom 3D, Newark,
NJ 07102




Dated: August 25, 2023
JAN:

                                                                      Jeanne Naughton
                                                                      Clerk
